Case 1:05-cv-OlO79-.]DT-STA Document 6 Filed 05/06/05 Page 1 of 3 Page|D 1

IN THE UNITED STATES DIsTRICT coURT FOR THE 05
wEsTERN DIsTRICT OF TENNESSEE mr -5 du _
EASTERN DIVISION 840

TERESA SMITH,
Plaintiff,
NO. 05-1079~T/AN

VS.

GREYHOUND LINES, INC., a
Delaware Corporation,

-._.¢-._¢~._r-._/V-_,~__/‘_,~_,¢~_.,

Defendants.

ORDER ALLOWING SUBSTITUTION OF COUNSEL

 

Before the Court is the Motion of Moss, Benton & Wallis, PLLC and
Gullett, Sandford, Robinson & Martin by Edwin E. Wallis, Jr. and A.
Scott Derrick and Christopher W. Cardwell to be substituted as lead
counsel for Defendants, Greyhound Lines, Inc., and further, for the
Court to allow the withdrawal of Jon Feikens, Esq. of the law firm of
Feikens, Stevens, Kennedy & Galbraith, P.C., Detroit, Michigan as
attorney for Defendants Greyhound Lines, Inc. Upon consideration of
said Motion, the fact that the case has been transferred from the
District Court in Michigan to this Court, and it appearing that no
opposition to said Motion exists, the Court finds that said Motion for
Substitution of Counsel and Withdrawal to be well taken and grants
same.

IT IS THEREFORE ORDERED, that the law firms Of MOSS, Benton &
Wallis, PLLC and Gullett, Sanford, Robinson & Martin, PLLC be, and
same hereby are substituted as lead counsel for the Defendant,
Greyhound Lines, Inc. and that Jon Feikens, Esq. of the law firm of
Feikens, Stevens, Kennedy & Galbraith, P.C., Detroit, Michigan is

hereby granted leave to withdraw as counsel for the Defendant,

This document entered on the docket shea ln co pilance (0
with Flu|e 58 and/or 79 {a) FRCP on M

Case 1:05-cv-OlO79-.]DT-STA Document 6 Filed 05/06/05 Page 2 of 3 Page|D 2

Greyhound Lines, Inc., and that he is relieved of further
responsibility as counsel in this matter.

IT IS SO ORDERED.

 

JU b(M
DATE: § /WA/‘Z]\/ QM

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01079 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
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